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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHANAE MOORE,                                CIVIL ACTION
                      Plaintiff
       v.
                                              No.
IQ DATA INTERNATIONAL, INC.;
TRANS UNION LLC;
EQUIFAX CREDIT INFORMATION
SERVICES, INC.;
EXPERIAN INFORMATION
SOLUTIONS, INC.,
                 Defendants


                                    COMPLAINT

INTRODUCTION

       This is an action for damages brought by a consumer pursuant to the Fair Credit

Reporting Act ("FCRA"), and Fair Debt Collection Practices Act (“FDCPA”). Defendant

collection agency wrongfully reported a debt on a credit report which was not plaintiff’s

and continued to report it inaccurately after plaintiff disputed it multiple times. After

notice from plaintiff of a dispute, the defendant Credit Reporting Agencies conducted

unreasonable investigations of the credit dispute resulting in continued inaccurate

reporting.

JURISDICTION

1. Jurisdiction arises under the FCRA, 15 U.S.C. §1681p, the FDCPA, 15 U.S.C.

   §1692k, 28 U.S.C. §1332, and 28 U.S.C. §1337. Supplemental jurisdiction over the

   state law claims arises under 28 U.S.C. §1367. Venue is proper in this district as all

   defendants do business here.
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PARTIES

2. Plaintiff is Shanae Moore, an adult individual and a consumer who resides at 419

   West 9th Street, Apt. 408, New Castle, DE 19702.

3. Defendant Trans Union Corporation is a foreign corporation, authorized to do and

   doing business in the Commonwealth of Pennsylvania, incorporated in the State of

   Delaware, and having offices at 2 Baldwin Place, Chester, PA 19022.

4. Defendant Equifax Credit Information Services, Inc., is a foreign corporation,

   authorized to do and doing business in the Commonwealth of Pennsylvania,

   incorporated in the State of Georgia, with a principal place of business in the State of

   Georgia, who can be served through its agent for service of process, CT Corp.

   System, 906 Olive Street, St. Louis, Missouri 63101.

5. Defendant Experian Information Solutions, Inc. is a foreign corporation, authorized to

   do and doing business in the Commonwealth of Pennsylvania, incorporated in the

   State of Ohio, who can be served at its Registered Agent, CT Corporation System,

   LLC, Harrisburg PA.

6. Defendant IQ Data International, Inc. (“IQ DATA”) is a business entity that regularly

   conducts business in the Eastern District of Pennsylvania and which has a principal

   place of business located at 1010 SE Everett Mall Way, Suite 100, Everett, WA

   98208.

7. IQ DATA regularly attempts to collect debts alleged to be due another and is a debt

   collector as defined by 15 U.S.C. §1692a(6).

8. IQ DATA regularly and in the ordinary course of business furnishes information to

   one or more consumer reporting agencies about credit transactions or experiences




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   with consumer(s). Accordingly, IQ DATA is a furnisher of credit information as

   contemplated in the FCRA, 15 U.S.C. §1681s-2(a) and (b).

9. The Defendants, Equifax, Experian, And Transunion are consumer reporting agencies

   (hereinafter collectively referred to as “the Agencies”) as defined in 15 U.S.C.

   §1681(f) of the Act, regularly engaged in the business of assembling, evaluating, and

   disbursing information concerning consumers for the purpose of furnishing consumer

   reports as defined in §1681(a)(b) of the Act, to third parties for monetary

   compensation.

FACTUAL ALLEGATIONS

10. Prior to the events described hereinafter, plaintiff rented a residential unit at Jefferson

   at Westtown Apts., unit 1427, 1000 Skiles Blvd., West Chester, PA.

11. Plaintiff vacated her unit on June 27, 2016.

12. Plaintiff paid the prorated $45 rent due for July 1st via check which represented

   payment in full of her total rental obligations under the rental agreement with

   Jefferson at Westtown (“the rental agreement”).

13. On or about July 2, 2016, property manager for Jefferson at Westtown wrongly

   debited $1233.95 from plaintiff’s checking account to pay an additional month’s rent

   that was not due under the rental agreement.

14. On or about July 2016, Plaintiff filed a dispute with her depositor bank, Bank of

   America, which resulted in return of $1,233.95 to her deposit account.

15. On or about August 9, 2016, plaintiff received a collection phone call from IQ DATA

   regarding unpaid rent for the month of August under the rental agreement (hereinafter

   “the alleged debt”).




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16. On or about August 4, 2016, defendant IQ DATA had reported plaintiff’s debt to TU

   as “placed for collection”.

17. On or about August 9, 2016, Jefferson emailed plaintiff and John Doe 1 that plaintiff

   did not owe the debt.

18. On or about September 19, 2016, after receiving more phone calls from IQ DATA to

   collect the debt, Jefferson again emailed plaintiff and John Doe 1 that plaintiff did not

   owe the debt.

19. Jefferson at Westtown never reached out to plaintiff via phone or letter alleging rent

   due to it before referring the debt to IQ DATA.

20. On or about December, 2016, plaintiff mailed to IQ DATA a certified letter disputing

   the debt, providing information in support of her dispute, and demanding verification

   of the debt.

21. On or about November 18, 2016, IQ DATA responded to plaintiff’s contact regarding

   the debt by attaching documentation supporting the debt from Jefferson.

22. On or about November 27, 2016, plaintiff filed an electronic dispute with Transunion

   disputing any derogatory reporting of the debt belonging to her.

23. On or January 3, 2017, Transunion’s reinvestigation inaccurately verified with IQ

   DATA that the debt was a collection account and that is was zeroed out after

   collection by a collection payment by plaintiff rather than accurately deleting the

   inaccurate collection references rather than merely noting “acct info disputed by

   consumer”.

24. On or about December 28, 2016, plaintiff filed a dispute with Equifax disputing the

   debt belonging to her.




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25. Within the relevant statutory period, Equifax failed to respond to plaintiff’s dispute or

   conduct any reinvestigation of the dispute and/or its reinvestigation inaccurately

   verified that the debt belonged to plaintiff.

26. On or about December 28, 2016, plaintiff filed a dispute with Experian disputing the

   debt belonging to her.

27. Within the relevant statutory period, Experian failed to respond to plaintiff’s dispute

   or conduct any reinvestigation of the dispute and/or its reinvestigation inaccurately

   verified that the debt belonged to plaintiff.

28. The aforesaid credit reporting by IQ DATA was misleading and deceptive because

   the debt was never owed and therefore never paid by plaintiff to IQ DATA.

29. The Agencies did not conduct a proper or adequate reinvestigation, but rather simply

   parroted inaccurate information furnished by IQ DATA contradicted by IQ DATA’s

   own creditor client.

30. IQ DATA failed to conduct a proper reinvestigation, and instead verified as accurate

   that the debt was owed by plaintiff and paid in collection.

Causes of Action

                    COUNT I - FAIR CREDIT REPORTING ACT
                              (Plaintiff v. IQ DATA)

       16.     All paragraphs above are re-alleged as though fully set forth herein.

       17.     At all times material herein, Plaintiff is a consumer as that term is defined

by 15 U.S.C. §1681a(c).

       18.     IQ DATA reported negative, misleading, and derogatory information to the

credit bureaus by stating the debt account as belonging to plaintiff.

       19.     Plaintiff has repeatedly contacted IQ DATA, both directly and through



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disputes to the Agencies, to dispute the information furnished to the credit bureaus,

requesting that the false, negative and derogatory credit reporting be removed.

       20.     IQ DATA, instead of correcting the inaccurate reporting, re-verified it.

       21.     IQ DATA is still reporting false and inaccurate information as of the date

of this complaint.

       22.     At all times relevant hereto, IQ DATA knew or should have known that it

was reporting false, inaccurate, and derogatory information about plaintiff

       23.     Pursuant to 15 U.S.C. §1681s-2(b), a furnisher of information has a duty

upon notice of dispute to conduct a proper investigation with respect to the disputed

information and report the results of the investigation to the consumer reporting agency.

       24.     IQ DATA failed to conduct a reasonable and adequate investigation or

reinvestigation.

       25.     IQ DATA has willfully and/or negligently failed and refused to remove the

inaccurate credit information, but instead is misusing the credit reporting system as a club

to coerce payment of a debt not lawfully due or owing.

       26.     IQ DATA has violated the Fair Credit Reporting Act by willfully and/or

negligently failing to comply with the requirements imposed under 15 U.S.C. §1681s-

2(b), including the failure to fully and properly investigate plaintiff's dispute and by

failing to correctly report to each of the credit bureaus.

       27.     As a result of IQ DATA’s willful, wanton, reckless, and/or negligent

action, plaintiff has been damaged.

       28.     Plaintiff has suffered mental and emotional distress, worry, humiliation,

embarrassment and damage to reputation as a result of said defendant's actions.




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       29.     Plaintiff has suffered pecuniary loss, suffered credit damages and

expended significant time and effort trying to correct her credit report.

                    COUNT II - FAIR CREDIT REPORTING ACT
                             (Plaintiff v. The Agencies)

       29.     All paragraphs above are re-alleged as though fully set forth herein.

       30.     Under the FCRA, The Agencies are required to report accurate information

and to conduct a proper investigation of disputed information. 15 U.S.C. §1681i(a):

   “If the completeness or accuracy of any item of information contained in a
   consumer’s file is disputed by a consumer, and such dispute is directly conveyed to
   the consumer reporting agency by the consumer, the consumer reporting agency shall
   within a reasonable period of time reinvestigate and record the current status of that
   information … If after such reinvestigation such information is found to be inaccurate
   or can no longer be verified, the consumer reporting agency shall promptly delete
   such information.”

       31.     §1681e(b) of the Act provides:

   “Whenever a consumer reporting agency prepares a consumer report it shall follow
   reasonable procedures to assure maximum possible accuracy of the information
   concerning the individual about whom the report relates.”

       32.     The Agencies failed to conduct a reasonable and adequate investigation

into plaintiff's dispute of the credit reporting of the debt and continued to report false and

inaccurate information on plaintiff’s credit reports.

       33.     The Agencies simply parroted the information provided by IQ DATA.

       34.     As a result of The Agencies’ willful, wanton, reckless, and/or negligent

action, plaintiff has been damaged.

       35.     Plaintiff has suffered mental and emotional distress, worry, humiliation,

embarrassment and damage to reputation as a result of said defendant's actions.

       36.     Plaintiff has suffered pecuniary loss, suffered credit damages and expended

significant time and effort trying to address her credit report.



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       37.      The Agencies willfully and/or negligently violated the provisions of the

FCRA in the following respects:

       a) by willfully and/or negligently failing, in the preparation of the consumer

             reports concerning plaintiff, to follow reasonable procedures to assure

             maximum possible accuracy of the information in the reports.

       b) by willfully and/or negligently failing to reinvestigate pursuant to 15 U.S.C.

             §1681i.

                         COUNT III – Violations of the FDCPA
                              (Plaintiff v. IQ DATA)

       31.      All paragraphs above are re-alleged as though fully set forth herein.

       32.      Defendants are “debt collectors” as defined by 15 U.S.C. § 1692a(6).

       33.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       34.      The foregoing contacts between IQ DATA and Plaintiff were

“communications” relating to a “debt” as defined by 15 U.S.C. § 1692a(2) and 1692a(5)

of the FDCPA.

       35.      Defendant IQ DATA’s conduct violated the FDCPA as described above,

including but not limited to:

   a) §1692 e(8), communicating false credit information;

   b) §1692e(10) and e(2) used false representation or deceptive means to collect a

       debt.

   c) §1692f unfairly and unconscionably sought to collect the debt.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendants for the following:



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       A. Declaratory judgment that defendant IQ DATA’s conduct violated the

             FDCPA.

       B. Actual and Statutory damages and Reasonable attorney fees and costs against

             defendant IQ DATA pursuant to 15 U.S.C. § 1692k;

       C. Actual, Statutory, and punitive damages under the FCRA against all

             defendants.

       D. Such other and further relief as the Court shall deem just and proper.

                                     TRIAL BY JURY

       36.      Plaintiff is entitled to and hereby respectfully demands a trial by jury. US

Const. amend. 7. Fed. R. Civ. Pro. 38.

Dated: March 13, 2017                                 RC 935
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